                            UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE



  ANDREW JOSTEN LOVINGOOD,

                 Plaintiff,
  v.
                                                               No. 3:19-cv-00009
  BILL JOHNSON, DERRICK GRAVES;
  And MONROE COUNTY, TENNESSEE;

                 Defendants.


                                      EXHIBIT LIST

         Comes the Defendant Bill Johnson by and through counsel, and submits the his

  list of exhibits as follows:

         1. Photograph of Bill Johnson left cheek;

         2. Photograph of Bill Johnson top of head;

         3. Photograph of Bill Johnson’s face;

         4. Order of Expungement dated June 26, 2018;

         5. Any appropriate and admissible exhibits offered by any other party.

         RESPECTFULLY SUBMITTED this 9th day of November, 2021.

                                                 s/ Arthur F. Knight, III
                                                 Arthur F. Knight, III, BPR #016178
                                                 TAYLOR & KNIGHT, P.C.
                                                 800 South Gay Street, Suite 600
                                                 Knoxville, TN 37929
                                                 Phone: 865-971-1701
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Case 3:19-cv-00009-DCLC-JEM Document 79 Filed 11/09/21 Page 1 of 2 PageID #: 816
                                  CERTIFICATE OF SERVICE

         I hereby certify that on November 9, 2021, a copy of the foregoing was filed
  electronically. Notice of this filing will be sent by operation of the Court’s electronic filing
  system to all parties indicated on the electronic filing receipt. All other parties will be
  served by U.S. Mail. Parties may access this filing through the Court’s electronic filing
  system.


                                              s/Arthur F. Knight, III
                                              Arthur F. Knight, III




Case 3:19-cv-00009-DCLC-JEM Document 79 Filed 11/09/21 Page 2 of 2 PageID #: 817
